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                                                                                      K'OV    -£20\S
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                               CLERK, U.S. DiSTrilCT COURT
                                         Norfolk Division                                no-"•Gl-K,   VA


 R.M.S. TITANIC, INC.,
 successor-in-interest to
 Titanic Ventures, limited partnership.
                Plaintiff,

 V.                                                          Civil Action No. 2:93cv902


 THE WRECKED AND ABANDONED VESSEL,
 ITS ENGINES, TACKLE, APPAREL,
 APPURTENANCES, CARGO, ETC., LOCATED
 WITHIN ONE (1) NAUTICAL MILE OF A POINT
 LOCATED AT 41 43/ 32' NORTH LATITUDE
 AND 49 56' 49" WEST LONGITUDE,
 BELIEVED TO BE THE R.M.S. TITANIC
 in rem.
                Defendant.


                                             ORDER


           IT APPEARING TO THE COURT:


           1.   On June 29,2018, RMS Titanic, Inc. ("RMST") filed Plaintiffs Motion to

 Approve Asset Purchase Agreement and Memorandum in Support (the "Sale Motion") [Dkt.

 447, and 448] seeking approval for the sale (the "Sale") of 100% of its stock to Premier

 Acquisition Holdings, LLC ("PAHL"), pursuant to the terms of that certain Asset Purchase

 Agreement, attached thereto as Exhibit A.

        2.      The United States Bankruptcy Court for the Middle District of Florida,

 Jacksonville Division, which oversees RMST's chapter 11 case, approved the Sale by Order

 dated October 19,2018.

        3.      On October 31, 2018, PAHL filed in this Court Premier Acquisition Holdings

 LLC's Consent Motion To Intervene (the "Intervention Motion") [Dkt. 506 and 507], seeking to
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   intervene in the above-captioned action pursuant to Fed. R. Civ. P. 24(a) and (b) for purposes of

   the Sale Motion.


          4.     As evidenced by endorsement of its counsel hereto, RMST consents to the

  requested relief

          ACCORDINGLY, IT IS HEREBY ORDERED:

          A.     The Court grants the Intervention Motion.

          B.     PAHL is authorized to intervene in this action for pui^oses ofthe Sale Motion, c. Q. a



                       CA /aO, .                      I^sbecca Beach Smith, Chief Judge
                                                T InitpH QtAfAG r^icfrint r^nnrt Trtr fK^
                                                United States District Court for the
                                                Eastern District of Virginia

  At Norfolk, VA
  This S.Wday ofNovember, 2018

  WE ASK FOR THIS:


  PREMIER ACQUISITION HOLDINGS LLC
  Proposed Intervenor


  Bv:    /s/David G. Bareer
  David G. Barger, VSB #21652
  GREENBERG TRAURIG, LLP
  1750 Tysons Boulevard, Suite 1200
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 SEEN AND AGREED:

 R.M.S. TITANIC, INC.,
 Plaintiff



 By:         /s/ Robert W McFarland
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 SEEN;


 UNITED STATES OF AMERICA
 Amicus Curiae




  By:        /s/Kent P. Porter
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